Case 1:21-cv-05316-NRM-TAM             Document 49       Filed 02/21/23      Page 1 of 9 PageID #:
                                             1617



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


 MARVEL CHARACTERS, INC.,

                        Plaintiff,                    Civil Action No. 1:21-cv-05316-NRM-TAM

        v.                                            Hon. Nina Morrison

 NANCI SOLO, ERIK COLAN, and RACHEL                   FIRST AMENDED COMPLAINT FOR
 WALDMAN,                                             DECLARATORY RELIEF

                        Defendants.

 NANCI SOLO and ERIK COLAN,

                       Counterclaimants,

 v.

 MARVEL CHARACTERS, INC. and DOES
 1-10, inclusive,

                   Counterclaim-Defendants.



        Plaintiff Marvel Characters, Inc. (“MCI”), for its amended complaint against defendants

 Nanci Solo, Erik Colan, and Rachel Waldman, alleges as follows:*

                                     NATURE OF THE ACTION

        1.      Over its long history, MCI and its predecessors in interest (individually and

 collectively, “Marvel”) have engaged numerous writers and artists to contribute to Marvel’s

 comics. Eugene J. Colan (“Gene Colan”), who started working for Marvel in or around 1946, is

 one such artist. Marvel assigned Gene Colan stories to illustrate, had the right to exercise

 creative control over his contributions, and paid him a per-page rate for his contributions. As a

 *
   Per this Court’s February 7, 2023 Order, MCI amends its prior pleadings to include allegations
 regarding Defendants’ service of their “alternate” notices of termination. For simplicity, in so
 doing, MCI further consolidates its initial complaint, Dkt. 1, and its supplemental complaint,
 Dkt. 30, into this First Amended Complaint.
Case 1:21-cv-05316-NRM-TAM             Document 49        Filed 02/21/23      Page 2 of 9 PageID #:
                                             1618



 result, any contributions Gene Colan made were at Marvel’s instance and expense, rendering his

 contributions work made for hire, to which the Copyright Act’s termination provisions do not

 apply. Nevertheless, defendants Nanci Solo, Erik Colan, and Rachel Waldman, as heirs of Gene

 Colan, have served termination notices purportedly issued under that Act, in an invalid attempt to

 acquire certain rights to iconic Marvel comic book characters and stories published between

 1967 and 1975.

        2.      In virtually identical circumstances, the Southern District of New York, as

 affirmed by the Second Circuit, granted Marvel summary judgment, finding that all of illustrator

 Jack Kirby’s contributions between 1958 and 1963 were done at Marvel’s instance and expense

 and thus were works made for hire. Because termination rights do not exist for works made for

 hire, the Kirby heirs’ termination notices were held to be invalid and of no legal force or effect.

 See Marvel Worldwide, Inc. v. Kirby, 777 F. Supp. 2d 720 (S.D.N.Y. 2011), aff’d in relevant

 part, 726 F.3d 119 (2d Cir. 2013).

        3.      Similarly, the District Court for the District of Delaware held in In re Marvel

 Entertainment Grp., 254 B.R. 817 (D. Del. 2000), that an artist’s contributions to many of the

 very same works that are at issue here were works made for hire. There, the writer who worked

 on these comics claimed that he owned many of the characters at issue in Marvel’s bankruptcy

 proceedings. The district court rejected that claim, holding that all of the writer’s work was at

 Marvel’s instance and expense and was thus work made for hire.

        4.      Kirby and In re Marvel Entertainment dictate that the termination notices here are

 invalid. As with the artists in those cases, Marvel had the right to exercise creative control over

 Gene Colan’s contributions and paid him a per-page rate for his work. As with the artists in

 those cases, when Gene Colan worked for Marvel, he did so with the expectation that Marvel



                                                 -2-
Case 1:21-cv-05316-NRM-TAM              Document 49        Filed 02/21/23       Page 3 of 9 PageID #:
                                              1619



 would pay him. And as with the artists in those cases, Gene Colan never held the copyright in

 the famous Marvel characters and comics on which he worked; rather, Marvel does, as evidenced

 by the relevant copyright registration notices themselves. Marvel thus brings this declaratory

 relief action, pursuant to 28 U.S.C. § 2201, in response to defendants’ improper attempt to

 acquire Marvel’s intellectual property.

                                              PARTIES

          5.    MCI is a Delaware corporation with its principal place of business in Burbank,

 California. MCI owns the intellectual property contained in the comic books and characters at

 issue.

          6.    Upon information and belief, Nanci Solo is the daughter of Gene Colan.

          7.    Upon information and belief, Erik Colan is the son of Gene Colan.

          8.    Upon information and belief, Rachel Waldman is the granddaughter of Gene

 Colan, through her late mother Valerie Waldman.

                                  JURISDICTION AND VENUE

          9.    This is an action for declaratory relief brought under 28 U.S.C. §§ 2201, et seq.,

 and under the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq. This Court has federal question

 subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

          10.   Upon information and belief, this Court has personal jurisdiction over defendants

 Nanci Solo and Erik Colan because they are both domiciled in Brooklyn, New York, and

 personal jurisdiction over Rachel Waldman by consent.

          11.   Upon information and belief, venue is proper in this Court because a substantial

 part of the events giving rise to the claim occurred in this District or, in the alternative, because

 Nanci Solo, Erik Colan, and Rachel Waldman are subject to the Court’s personal jurisdiction in



                                                  -3-
Case 1:21-cv-05316-NRM-TAM              Document 49        Filed 02/21/23     Page 4 of 9 PageID #:
                                              1620



 this District.

                                           ALLEGATIONS

           12.    At all relevant times, Gene Colan was engaged as a comic book artist by Marvel

 in New York, New York to contribute to various comic books (the “Works”).

           13.    Any contributions Gene Colan made were at Marvel’s instance and expense.

           14.    Marvel editorial staff had the right to exercise creative control over Gene Colan’s

 contributions, and Marvel paid Gene Colan a per-page rate for his contributions. When Gene

 Colan worked for Marvel, he did so with the expectation that Marvel would pay him.

           15.    Gene Colan did not obtain any ownership interest in or to any contributions he

 made.

           16.    Marvel registered copyrights in and to the Works, which are copyrightable subject

 matter under the copyright laws of the United States. The Register of Copyrights recorded the

 registrations, as set forth in Exhibit 1 to this complaint. Marvel has complied in all relevant

 respects with all laws governing copyright.

           17.    Gene Colan died on June 23, 2011. He was survived by his four children: Nanci

 Solo, Erik Colan, Valerie Waldman, and Jill Kubicki. Valerie Waldman subsequently died in

 2014, survived by her daughter Rachel Waldman. Gene Colan’s other three children are still

 living.

           18.    Between approximately June 22 and September 29, 2021, Nanci Solo and Erik

 Colan served four notices of termination on Marvel (the “Original Notices”). In the Original

 Notices, Nanci Solo and Erik Colan claim to have a sufficient interest in the Works to exercise

 purported rights of termination under the termination provisions of the Copyright Act, 17 U.S.C.

 § 304(c), and the regulations thereunder. They premise this claim on their status as Gene



                                                  -4-
Case 1:21-cv-05316-NRM-TAM             Document 49        Filed 02/21/23      Page 5 of 9 PageID #:
                                             1621



 Colan’s “surviving children.”

        19.      The Original Notices specifically seek to “terminate all pre-January 1, 1978

 exclusive or non-exclusive grants of the transfer or license of the renewal copyright(s) in and to”

 certain “illustrated comic book stor[ies]” that were allegedly “authored or co-authored” by Gene

 Colan and published by Marvel between 1967 and 1975. The Original Notices specify various

 effective termination dates, ranging from October 11, 2023 to June 11, 2031.

        20.      The comic book titles identified in the Original Notices include Tomb of Dracula,

 Captain America, and Marvel Super-Heroes. The Original Notices purportedly terminate

 alleged grants of copyright interests in all characters, story elements, and “indicia” in the comic

 books, as well as “all material” allegedly “authored or co-authored by Eugene J. Colan (in any

 and all medium(s), whenever created) that was reasonably associated with” these works and

 “registered with the United States Copyright Office and/or published within the termination time

 window, as defined by 17 U.S.C. § 304(c), and the” purported “effective date of this Notice of

 Termination.”

        21.      True and correct copies of the Original Notices are attached hereto as Exhibits 2

 through 5.

        22.      On or about November 15, 2022—after MCI challenged whether Nanci Solo and

 Erik Colan had standing to assert any purported termination right—Nanci Solo, Erik Colan, and

 Rachel Waldman jointly served four alternate notices of termination on Marvel that covered the

 same works as the Original Notices (the “Alternate Notices”). These Alternate Notices purport

 to be “served out of an abundance of caution in the event that the prior notice[s] [are] deemed

 ineffective.”

        23.      In the Alternate Notices, Nanci Solo, Erik Colan, and Rachel Waldman together



                                                 -5-
Case 1:21-cv-05316-NRM-TAM             Document 49        Filed 02/21/23      Page 6 of 9 PageID #:
                                             1622



 claim to have a sufficient interest in the Works to exercise purported rights of termination under

 the termination provisions of the Copyright Act, 17 U.S.C. § 304(c), and the regulations

 thereunder. They premise this claim on their status as, respectively, two of Gene Colan’s four

 biological children, and Gene Colan’s biological granddaughter via his deceased daughter.

        24.     The Alternate Notices specifically seek to “terminate all pre-January 1, 1978

 exclusive or non-exclusive grants of the transfer or license of the renewal copyright(s) in and to”

 certain “illustrated comic book stor[ies]” that were allegedly “authored or co-authored” by Gene

 Colan and published by Marvel between 1967 and 1975. The Alternate Notices specify various

 effective termination dates, ranging from November 16, 2024 to June 11, 2031, meaning that the

 purported effective termination dates are later in the Alternate Notices for certain Works than the

 dates in the Original Notices.

        25.     The comic book titles identified in the Alternate Notices include Tomb of

 Dracula, Captain America, and Marvel Super-Heroes. The Alternate Notices purportedly

 terminate alleged grants of copyright interests in all characters, story elements, and “indicia” in

 the comic books, as well as “all material” allegedly “authored or co-authored by Eugene J. Colan

 (in any and all medium(s), whenever created) that was reasonably associated with” these works

 and “registered with the United States Copyright Office and/or published within the termination

 time window, as defined by 17 U.S.C. § 304(c), and the” purported “effective date of this Notice

 of Termination.”

        26.     True and correct copies of the Alternate Notices are attached hereto as Exhibits 6

 through 9.

                     COUNT I: ACTION FOR DECLARATORY RELIEF
                             [As to the Validity of All Notices]

        27.     Marvel repeats and realleges each allegation contained in paragraphs 1 through 26


                                                 -6-
Case 1:21-cv-05316-NRM-TAM              Document 49       Filed 02/21/23     Page 7 of 9 PageID #:
                                              1623



 of this complaint as if fully set forth herein.

         28.      Nanci Solo, Erik Colan, and Rachel Waldman have served Marvel with

 termination notices as described above. On information and belief, they submitted the notices

 for recordation with the U.S. Copyright Office.

         29.      The Original Notices are invalid as a matter of law because Nanci Solo and Erik

 Colan lack the requisite majority interest to exercise any purported termination right of Gene

 Colan’s, as each child holds no greater than one-quarter of any such interest. See 17 U.S.C.

 § 304(c)(1)-(2).

         30.      The Original Notices and the Alternate Notices are also invalid as a matter of law

 because the Works were created as works made for hire, and there are no termination rights for

 works made for hire. See 17 U.S.C. § 304(c).

         31.      The Works were made for hire because they were created at Marvel’s instance

 and expense.

         32.      Any contributions Gene Colan made to the Works were done at the instance of

 Marvel’s editorial staff, who had the right to exercise creative control over Gene Colan’s

 contributions.

         33.      Any contributions Gene Colan made to the Works were done at Marvel’s expense

 because Marvel paid Gene Colan a per-page rate for his contributions, Gene Colan made those

 contributions to the Works with the expectation that Marvel would pay him, and Gene Colan did

 not obtain any ownership interest in or to his contributions.

         34.      Marvel has a real and reasonable apprehension of litigation over any claim by

 Nanci Solo, Erik Colan, and Rachel Waldman that Marvel’s exploitation of the Works after the

 alleged termination dates infringes their purported rights.



                                                   -7-
Case 1:21-cv-05316-NRM-TAM             Document 49        Filed 02/21/23       Page 8 of 9 PageID #:
                                             1624



        35.     There now exists between the parties an actual and justiciable controversy

 concerning the validity of the termination notices and the respective rights of Marvel, on the one

 hand, and Nanci Solo, Erik Colan, and Rachel Waldman, on the other.

        36.     A declaration is necessary and appropriate at this time in light of the purported

 effective termination dates and the ongoing exploitation of the Works and the development of

 new works derivative of the Works.

        37.     Marvel has no adequate remedy at law.

        38.     Accordingly, Marvel seeks, pursuant to 28 U.S.C. § 2201, a judgment from this

 Court that the notices are invalid and therefore that Marvel will not lose its copyright interests in

 the Works on the alleged termination dates.

                                      PRAYER FOR RELIEF

        WHEREFORE, Marvel prays for a judgment against Nanci Solo, Erik Colan, and Rachel

 Waldman as follows:

        A.      For a declaration that the termination notices are invalid;

        B.      For Marvel’s attorneys’ fees and costs incurred; and

        C.      For such other and further relief as the Court deems just and equitable.




                                                 -8-
Case 1:21-cv-05316-NRM-TAM       Document 49   Filed 02/21/23       Page 9 of 9 PageID #:
                                       1625


      Dated: February 21, 2023            Respectfully Submitted,

                                          O’MELVENY & MYERS LLP


                                          By: /s/ Molly M. Lens
                                          Molly M. Lens

                                          Daniel M. Petrocelli*
                                          dpetrocelli@omm.com
                                          Molly M. Lens
                                          mlens@omm.com
                                          Matthew Kaiser*
                                          mkaiser@omm.com
                                          1999 Avenue of the Stars, 8th Floor
                                          Los Angeles, California 90067
                                          Telephone: (310) 553-6700
                                          Facsimile: (310) 246-6779

                                          Allen Burton
                                          aburton@omm.com
                                          Danielle Feuer*
                                          dfeuer@omm.com
                                          Times Square Tower
                                          7 Times Square
                                          New York, NY 10036
                                          Telephone: (212) 326-2000
                                          Facsimile: (212) 326-2061

                                          * Admitted pro hac vice

                                          Attorneys for Plaintiff Marvel Characters, Inc.




                                        -9-
